                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In re
                                                           Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al., 1                                             Chapter 11
                                                           Hon. Lisa S. Gretchko
     Debtors.                                              Jointly Administered
_____________________________/

        STIPULATION TO ENTRY OF ORDER RESOLVING MOTION
         OF CHIPPEWA VALLEY, LLC TO COMPEL PAYMENT OF
              POST-PETITION LEASE OBLIGATIONS OR,
               ALTERNATIVELY, REJECTION OF LEASE

        Chippewa Valley, LLC (“Chippewa”) and Silverside Senior Living, LLC f/k/a

ACM Senior Living, LLC and Graceway South Haven, LLC (collectively, the

“Debtors”), by and through their undersigned counsel, stipulate as follows:

        1.          Chippewa filed the Motion of Chippewa Valley, LLC to Compel

Payment of Post-Petition Lease Obligations or, Alternatively, Rejection of Lease

(the “Motion”) 2 on July 22, 2021 seeking, among other relief, rejection and

termination of the Lease;

        2.          Chippewa and the Debtors have reached a resolution of certain disputes



1
  The debtors in these jointly administered proceedings along with the last four digits of their
respective federal tax id numbers are Silverside Senior Living, LLC (2357) [Case No. 21-44887-
lsg] and Graceway South Haven, LLC (9393) [Case No. 21-44888-lsg].
2
 Capitalized terms not otherwise defined herein shall have the meaning given to them in the
Motion.


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between themselves, including the rejection and the termination of the Lease, as set

forth herein and in the proposed order attached hereto as Exhibit 1.

        3.          The Debtors acknowledge that Chippewa has a perfected, choate, first

priority security interest and lien on that certain employee retention credit that the

Debtors expect to receive for 2020 and for the first and second quarters of 2021 (the

“Collateral”).

        4.          The Debtors and Chippewa consent to the filing of a chapter 11 plan of

liquidation (the “Plan”) by the Debtors that acknowledges Chippewa’s perfected,

choate, first priority lien (“Chippewa’s Perfected Lien”) on the Collateral, and

provides for a carve out from the Collateral solely for purposes of paying: (i) up to

$125,912.49 in priority wage claims asserted against the Debtors’ estates, and (ii) up

to $70,000 in professional fees incurred by the professionals retained by the Debtors

in these chapter 11 cases, the subchapter V trustee and the health care ombudsman

(the “Carve Out”). The Plan shall provide that the first funds received from the

Collateral will be used to satisfy the Carve Out, with the balance being paid to

Chippewa on account of Chippewa’s Perfected Lien.

        5.          Although Chippewa consents to the Plan terms set forth in the

preceding paragraph, Chippewa reserves its right to object to the Plan on any

grounds other than as set forth therein.




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        WHEREFORE, Chippewa and the Debtors respectfully request that the

Court entered the proposed order attached hereto as Exhibit 1.

        Respectfully submitted by,

JAFFE RAITT HEUER & WEISS, P.C. STROBL SHARP, PLLC

By: /s/ Paul R. Hage                            By: /s/ Lynn M. Brimer
Paul R. Hage (P70460)                           Lynn M. Brimer (P43291)
Hailey Kimball-Dexter (P81031)                  Pamela S. Ritter (P47886)
27777 Franklin Road, Suite 2500                 300 E. Long Lake Road, Suite 200
Southfield, MI 48034                            Bloomfield Hills, MI 48304-2376
Phone: (248) 351-3000                           Phone: (248) 540-2300
phage@jaffelaw.com                              lbrimer@strobllaw.com
hkimball@jaffelaw.com                           pritter@strobllaw.com

Counsel to Chippewa Valley, LLC                 Counsel to the Debtors


Dated: September 8, 2021




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                                      Exhibit 1
                                  (Proposed Order)




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                    UNITED STATES BANKRUPTCY COURT
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SILVERSIDE SENIOR LIVING,
LLC, et al., 1                                             Chapter 11
                                                           Hon. Lisa S. Gretchko
     Debtors.                                              Jointly Administered
_____________________________/

     ORDER RESOLVING MOTION OF CHIPPEWA VALLEY, LLC TO
    COMPEL PAYMENT OF POST-PETITION LEASE OBLIGATIONS OR,
             ALTERNATIVELY, REJECTION OF LEASE

        Chippewa Valley, LLC (“Chippewa”) having filed the Motion of Chippewa

Valley, LLC to Compel Payment of Post-Petition Lease Obligations or,

Alternatively, Rejection of Lease (the “Motion”) 2 ; notice of the Motion being

sufficient; no objections to the Motion having been timely filed other than the

objection filed by Silverside Senior Living, LLC f/k/a ACM Senior Living, LLC and

Graceway South Haven, LLC (collectively, the “Debtors”); Chippewa and the

Debtors having filed the Stipulation to Entry of Order Resolving Motion of

Chippewa Valley, LLC to Compel Payment of Post-Petition Lease Obligations or,

Alternatively, Rejection of Lease requesting entry of this Order; and the relief set


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forth herein being appropriate;

        IT IS HEREBY ORDERED THAT:

        1.          Effective upon the entry of this Order, the Lease shall be deemed

rejected pursuant to section 365(d)(2) and is hereby terminated without further

notice required.

        2.          Notwithstanding the rejection and termination of the Lease, the

Debtors, upon reasonable notice to Chippewa, shall have until September 24, 2021

to remove any resident/patient records located in the Premises.

        3.          For the avoidance of doubt, Chippewa’s right to request allowance and

payment of an administrative expense against the Debtors’ estates, if any, is hereby

preserved, as is the Debtors’ right to object to any such request.

        4.          For the avoidance of doubt, the Debtors’ right to seek to surcharge of

any collateral of Chippewa pursuant to section 506(c), if any, is hereby preserved,

as is Chippewa’s right to object to any such request.

        5.          The automatic stay is hereby modified pursuant to section 362(d) to the

extent necessary to effectuate the relief provided herein. The stay contemplated in

Bankruptcy Rule 4001(a)(3) is waived.

        6.          The Court shall retain jurisdiction over all matters related to the

implementation of this Order.




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